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 6                          UNITED STATES DISTRICT COURT
 7                         EASTERN DISTRICT OF CALIFORNIA
 8
 9   THOMAS KASCHAK,                        )     1:08-cv-0942 OWW
                                            )
10                      Plaintiffs,         )     ORDER STAYING CASE AFTER
                                            )     FURTHER SCHEDULING
11          v.                              )     CONFERENCE
                                            )
12   SLUE RAILSBACK,                        )
                                            )
13                      Defendant.          )
                                            )
14                                          )
15
16   I.     Date of Scheduling Conference.
17          May 27, 2010.
18   II.    Appearances Of Counsel.
19          James Rowe, Esq., appeared on behalf of Plaintiff.
20          Stephen C. Pass, Esq., appeared on behalf of Defendant.
21   III.    Status of Case.
22          1.    Since the last Scheduling Order, Plaintiff, Thomas
23   Kaschak’s criminal trial has concluded in a mistrial, based upon
24   the inability of the jury to reach unanimous verdict.
25          2.    The parties believe the criminal case is set for
26   retrial in July, 2010.       The stay previously in effect will be
27   reinstated.
28          3.    The parties shall notify the Court upon disposition of

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 1   the criminal case and shall file a supplemental Joint Scheduling
 2   Statement proposing a final schedule for the resolution of this
 3   case.
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 5   IT IS SO ORDERED.
 6   Dated: May 27, 2010                   /s/ Oliver W. Wanger
     emm0d6                           UNITED STATES DISTRICT JUDGE
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